                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

KIERAN O’HARA, on behalf of himself and all
other similarly situated individuals,
                                                                        Case No. 15-14139
       Plaintiff,
v.
DIAGEO BEER COMPANY USA & DIAGEO
NORTH AMERICA, INC.

       Defendants.


 PLAINTIFF’S ASSENTED-TO MOTION FOR PRELIMINARY APPROVAL OF THE
                 PROPOSED CLASS ACTION SETTLEMENT

       NOW comes Plaintiff, Kieran O’Hara (“O’Hara” or “Plaintiff”) and hereby provides this

memorandum in support of his Assented-To Motion for Preliminary Approval of a Proposed Class

Action Settlement.

       O’Hara has attached a memorandum of law in support of his Motion, and a copy of the

[Proposed] Settlement Agreement (“Agreement”) is attached thereto as Exhibit A.

       WHEREFORE, for the reasons set forth in the attached and incorporated memorandum of

law, Plaintiff respectfully requests that this Court enter an Order: (1) provisionally certifying the

proposed settlement class under Rule 23 of the Federal Rules of Civil Procedure with respect to

the claims brought against Defendants; (2) granting preliminary approval of the class Settlement

Agreement; (3) appointing Plaintiff’s Counsel as Class Counsel; (4) directing execution of the

proposed Notice plan; (5) approving Kroll Settlement Administration as the Settlement

Administrator; and (6) setting the final fairness hearing for a date.
       Plaintiff by his Counsel,

       /s/ Kevin J. McCullough
       ________________________
       Kevin J. McCullough, Esq.
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       Forrest, Mazow, McCullough,
       Yasi & Yasi, P.C.
       877-599-8890

       DATED: June 1, 2021




                                   CERTIFICATE OF SERVICE

       I, Kevin J. McCullough, Esq., certify that on June 1, 2021, 2021 this document was filed

electronically through the ECF system and thereby delivered by electronic means to all counsel

of record.

                                                                  /s/ Kevin J. McCullough
                                                                  Kevin J. McCullough
